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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF VIRGINIA                                           9/30/2020
                             CHARLOTTESVILLE DIVISION

     ELIZABETH SINES, et al.,
                                                         CASE NO. 3:17-cv-00072
                                       Plaintiffs,

                           v.
                                                         ORDER
     JASON KESSLER, et al.,

                                       Defendants.       JUDGE NORMAN K. MOON


         This matter is before the Court on the “Letter of Status,” filed on February 14, 2020, by

  Defendant Christopher Cantwell representing himself pro se. Dkt. 664. In it, Cantwell moves the

  Court to dismiss him from this case, which he characterizes as frivolous. He asserts that he “did

  nothing” to Plaintiffs, contends that Plaintiffs’ allegations are unproven, and characterizes this case

  as an abuse of the legal system.

         Cantwell already filed a motion to dismiss and the Court denied it in 2018, permitting this

  case to proceed against him. Sines v. Kessler, 324 F. Supp. 3d 765, 773 n.1 (W.D. Va. 2018); Dkts.

  205, 206 (Cantwell’s motion to dismiss). Cantwell did not seek leave of Court to file a subsequent

  motion to dismiss. The Court will DENY Cantwell’s motion as an improperly filed successive

  motion to dismiss filed without leave of Court, as well as for the reasons set forth in the Court’s

  prior opinion that denied Cantwell’s and other Defendants’ earlier motions to dismiss. His request

  for the Court to sanction Plaintiffs for their “meritless” filings is also denied. Nor has Cantwell

  substantiated his request that he be served with “all requisite materials” in the case, at Plaintiffs’

  expense, which is also denied. Cantwell may contact the Clerk of Court if there are any specific

  filings for which he would request an additional paper copy.



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        It is so ORDERED.

        The Clerk of the Court is directed to send a certified copy of this Order to the parties.

        Entered this 30th     day of September, 2020.




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